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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
In re:                                                        :
                                                              :
MATTER OF CERTAIN CLAIMS AND                                  :
NOTICING AGENTS’ RECEIPT OF FEES IN                           :   Misc. Pro. No. 22-00401(MG)
CONNECTION WITH UNAUTHORIZED                                  :
ARRANGEMENTS WITH XCLAIM INC.                                 :
                                                              :
--------------------------------------------------------------X

     ORDER GRANTING JOINT MOTION PURSUANT TO 11 U.S.C. §§ 105(a), 327,
       AND 1103, AND BANKRUPTCY RULE 2014 FOR ENTRY OF CONSENT
      ORDER APPROVING AGREEMENTS BETWEEN CERTAIN CLAIMS AND
           NOTICING AGENTS AND THE UNITED STATES TRUSTEE


        Upon the Joint Motion (the “Joint Motion”), dated April 3, 2023 [ECF No. 73], of the

United States Trustee, Omni Agent Solutions, Inc., Stretto, Inc., and Epiq Bankruptcy Solutions

LLC (collectively, the “Claims Agents,” and together with the United States Trustee, the

“Parties”), pursuant to Sections 105(a), 327 and 1103 of the Bankruptcy Code, and Rule 2014 of

the Federal Rule of Bankruptcy Procedure, for entry of a consent order approving the agreements

(the “Agreements”) annexed hereto, between the United States Trustee and each of the Claims

Agents; and the Court having jurisdiction over the Miscellaneous Proceeding and the Joint

Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

M-431, dated January 31, 2012 (Perske, C.J.); and due and adequate notice of the Joint Motion

having been provided; and the Court having found that each of the Agreements is reasonable, fair

and equitable and supported by adequate consideration; and no objection having been interposed

to the Joint Motion; and the Court having held a hearing on the Joint Motion on April 17, 2023,

the record of which hearing is incorporated by reference herein; and after due deliberation and

sufficient cause appearing therefore, it is hereby
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        FOUND AND DETERMINED that:

        A.     This Court has jurisdiction to hear and approve the Joint Motion.

        B.     Any objections to the Joint Motion and the Agreements that have not been

withdrawn or resolved, are overruled and/or waived.

        D.     The Parties have acted in good faith and engaged in arms-length negotiations in

connection with their determination to enter into and execute each of their respective

Agreements, annexed hereto.

        E.     The Agreements resolve the Parties’ disputes over issues concerning sanctions

against the Claims Agents related to Xclaim and the Synchronization Agreements without the

need for further litigation and costs in the Miscellaneous Proceeding or in any other proceeding

in any other jurisdiction, without prejudice to the United States Trustee’s position in the

underlying matter, and without any admission of liability, violation, or wrongdoing by the

Claims Agents.

        ACCORDINGLY, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

that:

        1.     The Joint Motion is granted to the extent set forth herein.

        2.     Pursuant to sections 105(a), 327 and 1103 of the Bankruptcy Code, and

Bankruptcy Rule 2014, each of the Agreements, and the terms therein, are approved.

        3.     The Parties are authorized to take any and all actions reasonably necessary or

appropriate to consummate their respective Agreements and perform any and all obligations

contemplated thereunder.

        4.     The approval of the Agreements concludes this Miscellaneous Proceeding with

prejudice as to the Claims Agents, and no other or further consequences are to be imposed by




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this Court on the Claims Agents regarding any past engagement or agreement with Xclaim.

       5.     This Order shall be effective and enforceable immediately upon its entry.

       6.     This Court retains exclusive jurisdiction to hear and determine any dispute

regarding the interpretation or enforcement of the Agreements and all matters arising from or

related to the implementation of this Order and the Miscellaneous Proceeding.



IT IS SO ORDERED:

Dated: April 19, 2023
       New York, New York
                                                      _____/s/ Martin Glenn_______
                                                            MARTIN GLENN
                                                    Chief United States Bankruptcy Judge




                                                3
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                                                                            EXECUTION VERSION

                                SETTLEMENT AGREEMENT

        This Settlement Agreement (the “Settlement Agreement”) is made and entered into by
and among (i) William K. Harrington, United States Trustee for Region 2 (“United States
Trustee”), and the Executive Office for United States Trustees (the “EOUST”), a component
within the Department of Justice, together with the United States Trustees and Acting United
States Trustees for Regions 1 through 21 (collectively, the “United States Trustee Program” or
“USTP”), and (ii) Omni Agent Solutions, Inc. (“Omni”). Where referred to collectively, the
USTP and Omni are referred to herein as the “Parties.”

                                            Recitation

       WHEREAS, the Clerk of the United States Bankruptcy Court for the Southern District of
New York (“Bankruptcy Court”) has approved Omni, a private entity, to be retained in
bankruptcy cases to act as the Clerk’s agent for the purpose of assisting with certain
administrative tasks pertaining to providing notices to parties and processing proofs of claim;

        WHEREAS, the retention of claims agents is governed by 28 U.S.C. § 156(c), the
Bankruptcy Court’s Local Bankruptcy Rule 5075-1, and the Bankruptcy Court’s Protocol for the
Employment of Claims and Noticing Agents Under 28 U.S.C. § 156(c) for the Bankruptcy Court
for the Southern District of New York (“SDNY Protocol”);

         WHEREAS, on October 16, 2019, Omni entered into an agreement (“Exclusive
Synchronization Agreement”) with Xclaim, Inc. (“Xclaim”), pursuant to which Omni agreed to
provide Xclaim with access to bankruptcy claims data in a certain synchronized format to
facilitate claims trading on Xclaim’s platform in exchange for a fee;

        WHEREAS, Omni terminated its Exclusive Synchronization Agreement with Xclaim
effective as of June 9, 2022 after learning of concerns raised by the Bankruptcy Court at the first-
day hearing in In re Pareteum Corp., Case No. 22-10615 (LGB), regarding another claims and
noticing agent and its relationship with Xclaim;

       WHEREAS, on August 18, 2022, in the chapter 11 case of In re Madison Square Boys &
Girls Club, Inc., Case No. 22-10910-SHL, the Bankruptcy Court held that another approved
claims agent’s exclusive synchronization agreement with Xclaim was inconsistent with the Code
of Conduct for Judicial Employees and, by extension, the SDNY Protocol. In re Madison Square
Boys & Girls Club, Inc., 642 B.R. 487 (Bankr. S.D.N.Y. 2022), appeal dismissed, Case No. 22-
CV-07575-KPF (U.S. District Court for the Southern District of New York), Dkt. No. 17;

         WHERAS, on August 25, 2022, the Bankruptcy Court commenced the miscellaneous
proceeding styled In re Matter of Claims and Noticing Agents Receipt of Fees in Connection with
Unauthorized Arrangements with Xclaim Inc., Misc. Pro. No. 22-00401-MG (“Miscellaneous
Proceeding”), wherein the Bankruptcy Court ordered (i) those certain claims agents approved to
be retained in bankruptcy cases to act as administrative claims and noticing agents, including
Omni, to file a notice disclosing, inter alia, (a) an accounting of any and all fees, costs, and
reimbursements received, or would have, from Xclaim through the filing of the notice, and (b) a
list of all bankruptcy cases in which the approved claims agent served as a court-approved claims
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and noticing agent and Xclaim facilitated at least one claims trade from which that approved
claims agent received or would receive a fee; and (ii) parties in interest, including the United
States Trustee, to file briefs outlining what sanctions should be imposed on those approved
claims agents that were a party to the Exclusive Synchronization Agreement with Xclaim. Misc.
Proc. No. 22-00401-MG, Dkt. Nos. 1 & 19;

       WHEREAS, the USTP alleges that the Exclusive Synchronization Agreement with
Xclaim should have been disclosed as a relevant connection by Omni in its retention applications
or supplemental affidavits filed in bankruptcy cases in which Omni was employed as a court-
approved claims and noticing agent pursuant to 28 U.S.C. § 156(c) and/or other estate
professional pursuant to 11 U.S.C. §§ 327 or 1103 from the date on which Omni entered into the
Exclusive Synchronization Agreement, to the date on which Omni terminated such agreement
(the “Subject Bankruptcy Cases”, a list of which is attached hereto as Exhibit A), and was
relevant to evaluating Omni’s disinterestedness in connection with Omni’s employment as claims
agent and/or estate professional in the Subject Bankruptcy Cases;

       WHEREAS, Omni strives to ensure compliance with disclosure rules applicable to claims
and noticing agents, but did not believe disclosure of the Exclusive Synchronization Agreement
was required in connection therewith; and

        WHEREAS, the Parties wish to resolve their dispute to avoid cost and expense associated
with further litigation related to Xclaim or the Exclusive Synchronization Agreement in the
Miscellaneous Proceeding or in any other proceeding in any other jurisdiction, without prejudice
to either Party’s position in the underlying matter and without any admission of liability,
violation, or wrongdoing by Omni.

       NOW, THEREFORE, it is hereby agreed to by and among the Parties:

                                           Agreement

                                     Article I – Jurisdiction

      1.     The Bankruptcy Court has jurisdiction over the Parties dispute and this Settlement
Agreement pursuant to the SDNY Protocol and the Bankruptcy Court’s order initiating the
Miscellaneous Proceeding [Dkt. No. 1].

                                Article II – Settlement Payment

       2.      The Parties have agreed that Omni shall make an aggregate payment of $225,000
(the “Settlement Payment”), payable to the debtors, reorganized debtors, and/or a representative,
designee, or successor of the debtors or the debtors’ estate, as applicable, in each of the Subject
Bankruptcy Cases (collectively, the “Debtors”). The Settlement Payment shall be payable in
four equal installments of $56,250.00 until fully paid. The first of such payments shall be due on
or before June 15, 2023, with three subsequent payments due on or before September 15, 2023,
December 15, 2023, and March 15, 2024. On or after the Effective Date (as defined below),
Omni will use reasonable efforts to contact the Debtors in writing (with e-mail being sufficient)
regarding the Settlement Agreement, the Settlement Payment, and payment information for each
Debtor. As soon as reasonably practicable after receipt of payment information from each
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Debtor, Omni will pay each Debtor a portion of the Settlement Payment, with such allocation to
be agreed with the USTP and filed in the Miscellaneous Proceeding within 10 business days of
the entry of the Order, on a quarterly basis in accordance with the dates set forth in this Section
2. Omni’s obligation to use reasonable efforts to contact each Debtor and pay the Settlement
Payment to each Debtor will terminate on the date that is two years after the Effective Date.

                                 Article III – Release Provisions

        3.      Upon the Effective Date, the USTP hereby releases all claims against Omni
related to, in connection with, arising under, or pertaining to Xclaim, the Exclusive
Synchronization Agreement, or any other third-party claims trader in cases in any
jurisdiction where Omni was employed as a court-approved claims and noticing agent pursuant
to 28 U.S.C. § 156(c) and/or other estate professional pursuant to 11 U.S.C. §§ 327 or 1103 and
shall refrain from instituting, directing, or maintaining any motion, objection, contested
matter, adversary proceeding, or miscellaneous proceeding against Omni in any jurisdiction (i)
alleging that Omni failed to make full and adequate disclosure under applicable law in any
application as a claims and noticing agent pursuant to 28 U.S.C. § 156(c) and/or other estate
professional pursuant to 11 U.S.C. §§ 327 or 1103 with respect to Xclaim and any third-party
claims trader and/or (ii) seeking disqualification, disgorgement, or other sanctions or penalties,
of, or against, Omni based on anything relating to Xclaim or the Exclusive Synchronization
Agreement.

       4.     Omni will release all claims against the USTP and all of its current and former
employees, including all claims under the Equal Access to Justice Act, 28 U.S.C. § 2412, based
on the USTP’s investigation in the Miscellaneous Proceeding.

       5.      This Settlement Agreement does not bind or prejudice any rights or claims of any
non-party, including the United States, the U.S. Department of Justice (except for the USTP),
and/or other governmental agencies; provided that Omni’s obligation to pay the Settlement
Payment hereunder shall be null and void if any governmental entity seeks in any forum to
impose any monetary sanction or penalty on Omni in connection with Xclaim or the Exclusive
Synchronization Agreement.

                             Article IV – Miscellaneous Provisions

         6.     This Settlement Agreement shall be authorized through a joint motion to be filed
in the Miscellaneous Proceeding, pursuant to section 11 U.S.C. § 105(a), seeking Bankruptcy
Court approval on notice to all applicable parties in interest, or through such other procedures as
may be permitted by the Bankruptcy Court. The Parties hereto agree to use their reasonable best
efforts to achieve approval of this Settlement Agreement through such motion or other
procedures and obtain the entry of a mutually acceptable Bankruptcy Court order approving this
Settlement Agreement (“Order”). A condition precedent to the effectiveness of this Settlement
Agreement shall be the Bankruptcy Court’s entry of such mutually acceptable Order.

       7.      This Settlement Agreement shall become effective and binding on each of the
Parties upon entry of the Order and entry of an order dismissing Omni from the Miscellaneous
Proceeding with prejudice without further consequences imposed against Omni by the
Bankruptcy Court regarding any past Omni engagement or agreement with Xclaim (the date such
conditions are effective, the “Effective Date”).
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        8.     The Bankruptcy Court shall retain exclusive jurisdiction over all matters subject to
this Settlement Agreement and the Order, including disputes arising under this Settlement
Agreement and the Order, and over the construction, interpretation, modification, and
enforcement of the Settlement Agreement and Order, and shall retain exclusive jurisdiction to
hear any motions or proceedings related to this Settlement Agreement and the Order.

       9.       This Settlement Agreement and the Order (and their contents) are not and shall
not be used as an admission of liability, violation, or wrongdoing by Omni, and all of its agents,
directors, officers, attorneys and employees acting on its behalf, solely with respect to actions
taken in the course or their duties with Omni, to any person or entity or on any legal or equitable
theory. This Settlement Agreement is made, and the Order shall be entered, without trial or
adjudication or any issue of fact or law as to the claims released in Article III. Nothing in this
paragraph reduces Omni’s obligations under this Settlement Agreement and the Order or affects
the USTP’s authority to enforce any rights under the Settlement Agreement and Order.

        10.     This Settlement Agreement constitutes the entire agreement between the Parties
relating to the subject matter reflected herein and may not be modified except: (i) in writing
executed and delivered by the Parties, or (ii) pursuant to mutually acceptable terms incorporated
in the Order.

       11.     This Settlement Agreement may be executed by the Parties in one or more
counterparts, or via facsimile or electronically scanned signatures, each of which shall be
deemed an original, all of which together shall constitute one and the same instrument.

        12.     This Settlement Agreement shall become effective following its execution by the
Parties and upon the expiration of any appeal period relating to the Order. The Parties waive any
right to seek reconsideration of or to appeal from the Order if the Order is entered as submitted
in a form mutually acceptable to the Parties.

       13.      If either Party determines that this Settlement Agreement or Order has been
violated, it shall notify the other Party of the violation and allow ten (10) days to cure or
otherwise purge the conduct deemed to violate the Settlement Agreement or Order before filing
any motion or commencing any proceeding to enforce this Settlement Agreement and the Order
with the Bankruptcy Court, unless more time is agreed to by the Parties.

       14.    Where any time period in this Settlement Agreement is stated in days, the
applicable time period shall be calculated pursuant to Federal Rule of Bankruptcy Procedure
9006(a)(1).




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AGREED TO:

Dated: April 12, 2023                  By:       /s/ Ramona D. Elliott
                                                 Ramona D. Elliott
                                                 Deputy Director/General Counsel
                                                 Executive Office for United States Trustees

Dated: April 3, 2023                   By:       /s/ William K. Harrington
                                                 William K. Harrington
                                                 United States Trustee, Region 2

Dated: March 2, 2023                   By:       /s/ Brian Osbourne
                                                 Brian Osborne
                                                 CEO & President
                                                 Omni Agent Solutions, Inc.




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                                 EXHIBIT A

                           Subject Bankruptcy Cases
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      DBName                    Court                         Case Number(s)
                                                   21-10883; 21-10884; 21-10885; 21-10887;
AvadimHealth           District of Delaware       21-10886
                       Southern District of        20-33918; 20-33919; 20-33920; 20-33921;
Benevis                Texas                      20-33922; 20-33923
                                                   18-11780; 18-11781; 18-11782; 18-11783;
                                                  18-11784; 18-11786; 18-11787; 18-11789;
Brookstone             District of Delaware       18-11790; 18-11791
                       Southern District of        20-33605; 20-33608; 20-33610; 20-33611;
BruinEP                Texas                      20-33609; 20-33607; 20-33606
                                                   20-11719; 20-11732; 20-11727; 20-11728;
                                                  20-11729; 20-11735; 20-11759; 20-11736;
                                                  20-11760; 20-11737; 20-11738; 20-11739;
                                                  20-11740; 20-11720; 20-11741; 20-11742;
                                                  20-11743; 20-11758; 20-11731; 20-11730;
                                                  20-11755; 20-11756; 20-11745; 20-11748;
                                                  20-11744; 20-11750; 20-11751; 20-11752;
                                                  20-11753; 20-11754; 20-11747; 20-11734;
                                                  20-11721; 20-11722; 20-11723; 20-11724;
                                                  20-11761; 20-11725; 20-11746; 20-11733;
CDS                    District of Delaware       20-11726; 20-11757; 20-11749
                                                   20-11593; 20-11592; 20-11594; 20-11595;
ChisholmOil            District of Delaware       20-11596
ChristopherBanks       District of New Jersey      21-10269; 21-10268; 21-10270
                       Southern District of
Cinemex                Florida                    20-14695; 20-14696; 20-14699
ConnectionsCSP         District of Delaware       21-10723
DorchesterResource     Western District of
s                      Oklahoma                   21-10840
                       Southern District of New
EmpireGenerating       York                        19-23007; 19-23006; 19-23008; 19-23009
                       Northern District of        20-31840; 20-31841; 20-31842; 20-31843;
Endologix              Texas                      20-31844; 20-31845; 20-31846; 20-31847
                                                   20-10161; 20-10162; 20-10163; 20-10164;
                                                  20-10165; 20-10166; 20-10167; 20-10168;
                                                  20-10169; 20-10170; 20-10171; 20-10172;
                                                  20-10173; 20-10174; 20-10175; 20-10176;
                                                  20-10177; 20-10178; 20-10179; 20-10180;
                       Southern District of New   20-10181; 20-10182; 20-10183; 20-10184;
Fairway                York                       20-10185; 20-10186
                                                   19-11240; 19-11242; 19-11244; 19-11246;
                                                  19-11247; 19-11249; 19-11241; 19-11243;
                                                  19-11245; 19-11251; 19-11253; 19-11248;
FTD                    District of Delaware       19-11250; 19-11252; 19-11254
GroupeDynamite         District of Delaware        20-12085; 20-12084; 20-12083
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       DBName                Court                         Case Number(s)
                                                21-31121; 21-31119; 21-31120; 21-31122;
                                               21-31123; 21-31124; 21-31125; 21-31126;
                    Northern District of       21-31127; 21-31128; 21-31129; 21-31130;
GVS                 Texas                      21-31131; 21-31132; 21-31164
                    Southern District of New
HBL                 York                        21-22623
                                                20-11723; 20-11724; 20-11725; 20-11726;
                                               20-11727; 20-11728; 20-11729; 20-11730;
                    Southern District of New   20-11731; 20-11732; 20-11733; 20-11734;
ILMulino            York                       20-11735; 20-11736; 20-11778
                                                20-34500; 20-34478; 20-34479; 20-34480;
                                               20-34481; 20-34482; 20-34483; 20-34484;
                                               20-34485; 20-34486; 20-34487; 20-34488;
                                               20-34489; 20-34490; 20-34491; 20-34492;
                    Southern District of       20-34493; 20-34494; 20-34495; 20-34496;
iQor                Texas                      20-34497; 20-34498; 20-34499
                                                20-32181; 20-32182; 20-32183; 20-32184;
                                               20-32185; 20-32186; 20-32187; 20-32188;
                                               20-32189; 20-32190; 20-32180; 20-32191;
                    Eastern District of        20-32192; 20-32193; 20-32194; 20-32195;
JCrew               Virginia                   20-32196; 20-32197
JohnVarvatos        District of Delaware        20-11043; 20-11044; 20-11045
                                                21-30823; 21-30824; 21-30827; 21-30833;
                                               21-30837; 21-30842; 21-30845; 21-30850;
                                               21-30829; 21-30835; 21-30841; 21-30847;
                                               21-30825; 21-30858; 21-30855; 21-30864;
                                               21-30856; 21-30859; 21-30868; 21-30872;
                                               21-30873; 21-30870; 21-30866; 21-30871;
                                               21-30846; 21-30840; 21-30848; 21-30832;
                                               21-30851; 21-30836; 21-30838; 21-30852;
                                               21-30826; 21-30830; 21-30831; 21-30834;
                                               21-30839; 21-30843; 21-30844; 21-30854;
                    Southern District of       21-30862; 21-30867; 21-30857; 21-30869;
JustEnergy          Texas                      21-30860; 21-30853; 21-30865; 21-30849
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     DBName                Court                     Case Number(s)
                                          21-10146; 21-10161; 21-10168; 21-10184;
                                         21-10191; 21-10210; 21-10221; 21-10223;
                                         21-10232; 21-10241; 21-10254; 21-10258;
                                         21-10259; 21-10261; 21-10263; 21-10265;
                                         21-10273; 21-10275; 21-10277; 21-10282;
                                         21-10283; 21-10284; 21-10285; 21-10289;
                                         21-10290; 21-10291; 21-10292; 21-10293;
                                         21-10294; 21-10297; 21-10298; 21-10299;
                                         21-10300; 21-10301; 21-10304; 21-10306;
                                         21-10307; 21-10308; 21-10310; 21-10313;
                                         21-10317; 21-10318; 21-10320; 21-10321;
                                         21-10322; 21-10324; 21-10325; 21-10326;
                                         21-10329; 21-10316; 21-10330; 21-10333;
                                         21-10335; 21-10336; 21-10337; 21-10340;
                                         21-10345; 21-10347; 21-10348; 21-10350;
                                         21-10352; 21-10353; 21-10355; 21-10356;
                                         21-10149; 21-10153; 21-10157; 21-10163;
                                         21-10164; 21-10175; 21-10178; 21-10196;
                                         21-10198; 21-10204; 21-10211; 21-10213;
                                         21-10217; 21-10216; 21-10226; 21-10230;
                                         21-10231; 21-10233; 21-10234; 21-10239;
                                         21-10240; 21-10251; 21-10255; 21-10256;
                                         21-10257; 21-10260; 21-10262; 21-10264;
                                         21-10266; 21-10267; 21-10269; 21-10270;
                                         21-10272; 21-10274; 21-10276; 21-10278;
                                         21-10279; 21-10280; 21-10281; 21-10286;
                                         21-10287; 21-10288; 21-10295; 21-10296;
                                         21-10302; 21-10303; 21-10305; 21-10309;
                                         21-10311; 21-10312; 21-10314; 21-10315;
                                         21-10319; 21-10323; 21-10327; 21-10328;
                                         21-10331; 21-10332; 21-10334; 21-10338;
                                         21-10339; 21-10341; 21-10342; 21-10343;
                                         21-10344; 21-10346; 21-10349; 21-10358;
                                         21-10148; 21-10152; 21-10154; 21-10155;
                                         21-10156; 21-10162; 21-10172; 21-10174;
                                         21-10177; 21-10182; 21-10185; 21-10186;
                                         21-10188; 21-10192; 21-10193; 21-10195;
                                         21-10235; 21-10238; 21-10242; 21-10250;
                                         21-10252; 21-10151; 21-10158; 21-10166;
                                         21-10173; 21-10176; 21-10180; 21-10190;
                                         21-10194; 21-10200; 21-10202; 21-10203;
                                         21-10206; 21-10214; 21-10215; 21-10227;
                                         21-10229; 21-10237; 21-10243; 21-10244;
                                         21-10245; 21-10246; 21-10247; 21-10253;
                                         21-10271; 21-10354; 21-10359; 21-10147;
Knotel            District of Delaware   21-10150; 21-10159; 21-10160; 21-10165;
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    DBName                    Court                         Case Number(s)
                                                21-10167; 21-10169; 21-10170; 21-10171;
                                                21-10179; 21-10181; 21-10183; 21-10187;
                                                21-10189; 21-10197; 21-10199; 21-10201;
                                                21-10205; 21-10207; 21-10208; 21-10209;
                                                21-10212; 21-10218; 21-10219; 21-10220;
                                                21-10222; 21-10224; 21-10225; 21-10228;
                                                21-10236; 21-10248; 21-10249; 21-10268;
                                                21-10351; 21-10357; 21-10540




                                                 20-bk-10166; 20-bk-10167; 20-bk-10168;
                                                20-bk-10169; 20-bk-10170; 20-bk-10171;
                                                20-bk-10172; 20-bk-10173; 20-bk-10174;
                                                20-bk-10175; 20-bk-10176; 20-bk-10177;
                                                20-bk-10178; 20-bk-10179; 20-bk-10180;
                                                20-bk-10181; 20-bk-10182; 20-bk-10183;
                                                20-bk-10184; 20-bk-10185; 20-bk-10186;
LuckyMarket          District of Delaware       20-bk-10187; 20-bk-10513; 20-bk-10514
                     Southern District of New
NorthwestCompany     York                       20-10990; 20-10989
                     Southern District of New
NorwegianAir         York                       21-10478; 21-10480
                     Southern District of New
OccasionBrands       York                       20-11684
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       DBName                    Court                         Case Number(s)
                                                    20-22437; 20-22438; 20-22442; 20-22448;
                                                   20-22441; 20-22439; 20-22450; 20-22451;
                                                   20-22447; 20-22443; 20-22449; 20-22434;
                        Southern District of New   20-22446; 20-22444; 20-22436; 20-22435;
OneWeb                  York                       20-22452; 20-22445; 20-22440
                                                    19-11626; 19-11627; 19-11628; 19-11629;
PES2019                 District of Delaware       19-11630; 19-11631; 19-11632; 19-11633
                                                    19-43754; 19-43787; 19-43788; 19-43757;
                                                   19-43755; 19-43789; 19-43756; 19-43790;
                                                   19-43758; 19-43759; 19-43760; 19-43761;
                                                   19-43762; 19-43791; 19-43763; 19-43764;
                        Western District of        19-43765; 19-43766; 19-43792; 20-40156;
PNWHealthcare           Washington                 20-40157
                        Southern District of New    20-11484; 20-11485; 20-11486; 20-11487;
PremiereJewellery       York                       20-11488
                                                    20-13157; 20-13158; 20-13161; 20-13162;
                                                   20-13163; 20-13164; 20-13165; 20-13166;
                                                   20-13167; 20-13168; 20-13169; 20-13170;
PunchBowlSocial         District of Delaware       20-13171; 20-13204; 20-13206
                                                    21-11445; 21-11437; 21-11438; 21-11439;
                                                   21-11440; 21-11441; 21-11442; 21-11443;
PWM                     District of Delaware       21-11444
                        Southern District of
RockInternational       Texas                      20-35623
                        Southern District of New
SARetail                York                        21-22174; 21-22175
SLT                     District of New Jersey      20-18368; 20-18367
STATravel               District of Delaware        21-10511
StreamTV                District of Delaware        21-10433
                                                    20-11087; 20-11088; 20-11089; 20-11090;
                                                   20-11091; 20-11092; 20-11093; 20-11095;
                                                   20-11096; 20-11097; 20-11098; 20-11099;
                                                   20-11100; 20-11101; 20-11102; 20-11103;
SustainableRestaura                                20-11104; 20-11105; 20-11106; 20-11107;
nt                      District of Delaware       20-11108; 20-11094
                        Northern District of
SVXR                    California                 21-51050
                                                    20-34932; 20-34934; 20-34936; 20-34937;
                        Southern District of       20-34938; 20-34939; 20-34940; 20-34941;
Utex                    Texas                      20-34942; 20-34943; 20-34944; 20-34945
                                                   18-11120; 18-11121; 18-11122; 18-11123;
Videology               District of Delaware       18-11124
                                                   20-10345; 20-10346; 20-10347; 20-10348;
VIPCinema               District of Delaware       20-10344
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     DBName                    Court                     Case Number(s)
                                             18-30777; 18-30778; 18-30850; 18-30879;
                                             18-30868; 18-30774; 18-30861; 18-30840;
                                             18-30847; 18-30788; 18-30809; 18-30856;
                                             18-30806; 18-30825; 18-30884; 18-30775;
                                             18-30759; 18-30878; 18-30801; 18-30829;
                                             18-30811; 18-30812; 18-30869; 18-30841;
                                             18-30815; 18-30795; 18-30764; 18-30833;
                                             18-30814; 18-30800; 18-30807; 18-30792;
                                             18-30842; 18-30766; 18-30857; 18-30854;
                                             18-30836; 18-30831; 18-30804; 18-30888;
                                             18-30765; 18-30769; 18-30819; 18-30780;
                                             18-30846; 18-30843; 18-30882; 18-30816;
                                             18-30839; 18-30859; 18-30821; 18-30786;
                                             18-30787; 18-30834; 18-30808; 18-30797;
                                             18-30830; 18-30823; 18-30789; 18-30822;
                                             18-30779; 18-30761; 18-30852; 18-30874;
                                             18-30891; 18-30837; 18-30767; 18-30890;
                                             18-30880; 18-30773; 18-30863; 18-30867;
                                             18-30864; 18-30873; 18-30844; 18-30832;
                                             18-30799; 18-30848; 18-30798; 18-30818;
                                             18-30803; 18-30885; 18-30893; 18-30881;
                                             18-30845; 18-30866; 18-30870; 18-30785;
                                             18-30784; 18-30781; 18-30871; 18-30887;
                                             18-30865; 18-30827; 18-30793; 18-30862;
                                             18-30860; 18-30849; 18-30876; 18-30813;
                                             18-30826; 18-30835; 18-30802; 18-30886;
                                             18-30883; 18-30772; 18-30838; 18-30810;
                                             18-30817; 18-30872; 18-30875; 18-30858;
                                             18-30855; 18-30889; 18-30851; 18-30877;
                                             18-30796; 18-30892; 18-30805; 18-30762;
                                             18-30763; 18-30768; 18-30771; 18-30760;
                                             18-30776; 18-30782; 18-30828; 18-30794;
                      Northern District of   18-30853; 18-30820; 18-30790; 18-30770;
4 West Holdings       Texas                  18-30791; 18-30824; 18-30783
Affirmative                                   15-12136; 15-12141; 15-12142; 15-12140;
Insurance             District of Delaware   15-12143; 15-12137; 15-12138; 15-12139
                                              12-11564; 12-11565; 12-11768; 12-11773;
                                             12-11779; 12-11778; 12-11776; 12-11767;
                                             12-11769; 12-11777; 12-11775; 12-11770;
Allied Systems                               12-11774; 12-11771; 12-11772; 12-11782;
Holding               District of Delaware   12-11781; 12-11780; 12-11783
                                              17-30262; 17-30248; 17-30249; 17-30250;
Amplify Energy (fka                          17-30251; 17-30252; 17-30253; 17-30254;
Memorial            Southern District of     17-30255; 17-30256; 17-30257; 17-30258;
Production)         Texas                    17-30259; 17-30260; 17-30261
Arecont Vision LLC District of Delaware       18-11142; 18-11143; 18-11144
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     DBName                     Court                         Case Number(s)
Banah                                             13-13954
Baxano Surgical        District of Delaware       14-12545-CSS
Boy Scouts of
America                District of Delaware        20-10343; 20-10342
                                                   19-11466; 19-11467; 19-11469; 19-11468;
                                                  19-11470; 19-11476; 19-11477; 19-11478;
                                                  19-11471; 19-11473; 19-11474; 19-11475;
Center City            District of Delaware       19-11472; 19-11479
                       Southern District of New
Choxi                  York                       16-13131
City of San            Central District of
Bernardino             California                 12-28006
Consolidated
Infrastructure Group   District of Delaware        19-10165
                                                   15-10952; 15-10953; 15-10954; 15-10955;
                                                  15-10956; 15-10957; 15-10958; 15-10959;
                                                  15-10960; 15-10961; 15-10962; 15-10963;
                                                  15-10964; 15-10965; 15-10966; 15-10967;
                                                  15-10968; 15-10969; 15-10970; 15-10971;
                                                  15-10972; 15-10973; 15-10974; 15-10975;
Corinthian             District of Delaware       15-10976
Cornerstone            Central District of
Apparel, Inc.          California                 17-17292
Coyne Textile          Northern District of New
Services               York                       15-31160
                       Eastern District of New    19-71020; 19-71022; 19-71023; 19-71024;
Decor Holdings         York                       19-71025
Dextera                District of Delaware        17-12913
                       Western District of
Door to Door           Washington                  16-15618
                                                   16-11452; 16-11453; 16-11454; 16-11455;
Draw Another Circle District of Delaware          16-11456
                    Northern District of           19-61688; 19-61699; 19-61704; 19-61705;
Eat Here Brands     Georgia                       19-61710; 19-61713; 19-61718; 19-61721
Education
Corporation of      Middle District of
America             Georgia                       5:18-cv-00388-TES
EFI Liquidating     Central District of
Trust               California                    9:08-bk-11457-RR
                    Southern District of New
Empire              York                          19-23007; 19-23006; 19-23008; 19-23009
Ensequence, Inc.    District of Delaware          18-10182
Estate Financial    Central District of
Combined            California                    9:08-bk-11535-RR
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     DBName                     Court                         Case Number(s)
                                                   08-13414; 08-13415; 08-13418; 08-13419;
                                                  08-13416; 08-13420; 08-13421; 08-13417;
eToys                  District of Delaware       08-13413; 08-13412
FAH Liquidaing fka
Fisker                 District of Delaware        13-13087; 13-13086
                                                  12-10968 (BLS); 12-10970 (BLS); 12-
FastShip               District of Delaware       10971 (BLS)
                       Eastern District of New
FEGS                   York                       15-71074
                       Southern District of New
Firestar Diamond       York                       18-10509; 18-10510; 18-10511
Flatiron Hotel         Southern District of New
Operations LLC         York                        18-12342; 18-12341
                                                   19-11240; 19-11242; 19-11244; 19-11246;
                                                  19-11247; 19-11249; 19-11241; 19-11243;
                                                  19-11245; 19-11251; 19-11253; 19-11248;
FTD                    District of Delaware       19-11250; 19-11252; 19-11254
GEEnergy               District of Delaware        19-10303; 19-10304
                       Southern District of New    18-14102; 18-14103; 18-14104; 18-14105;
Glansaol               York                       18-14106; 18-14107; 18-14108; 18-14109
                                                   19-10684; 19-10685; 19-10686; 19-10687;
                                                  19-10688; 19-10689; 19-10690; 19-10691;
                                                  19-10692; 19-10693; 19-10694; 19-10695;
                                                  19-10696; 19-10697; 19-10698; 19-10699;
Hexion             District of Delaware           19-10700; 19-10701
Hollander Sleep    Southern District of New        19-11608; 19-11607; 19-11609; 19-11610;
Products, LLc      York                           19-11611; 19-11612; 19-11613
                   Southern District of
ITT Educational    Indiana                        16-07207; 16-07208; 16-07209
                   Southern District of New
Joyce Leslie       York                           16-22035
                   Southern District of
KP Engineering     Texas                          19-34698; 19-34699
L. K. Bennett      District of Delaware            19-10760
Lockwood Holdings, Southern District of            18-30197; 18-30198; 18-30199; 18-30268;
Inc                Texas                          18-30269; 18-30270; 18-30271
                   Southern District of New
Metro Newspaper    York                           17-22445
                   Southern District of New
Metropark USA, Inc York                            11-22866
                                                   18-04177; 18-04178; 18-04179; 18-04176;
Mission Coal           Northern District of       18-04180; 18-04181; 18-04182; 18-04183;
Company                Alabama                    18-04184; 18-04185; 18-04186
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     DBName                     Court                        Case Number(s)
Mission Group
Kansas                District of Kansas          16-20656
                      Central District of        08-32333, 08-32349, 09-25510, 09-25523,
Namco                 California                 09-25517
                      Central District of
Nasty Gal             California                  16-24862
                                                  18-12394; 18-12395; 18-12396; 18-12397;
NSC Wholesale         District of Delaware       18-12398; 18-12399; 18-12400
                      Northern District of
Peregrine Financial   Illinois                    12-27488
Philadelphia Energy                               19-11626; 19-11627; 19-11628; 19-11629;
Solutions             District of Delaware       19-11630; 19-11631; 19-11632; 19-11633
Phoenix Payment       District of Delaware       14-11848
                      Southern District of New
Quirky                York                       15-12596; 15-12597; 15-12598
                      Eastern District of
Reading Eagle         Pennsylvania                19-11728; 19-11731
                                                  05-60006-rdd; 06-11262-rdd; 05-60007-
                                                 rdd; 05-60008-rdd; 06-11261-rdd; 06-
                                                 11260-rdd; 06-12436-rdd; 05-60009-rdd;
                                                 05-60010-rdd; 05-60011-rdd; 05-60012-
                                                 rdd; 05-60013-rdd; 05-60014-rdd; 05-
                                                 60015-rdd; 05-60016-rdd; 05-60017-rdd;
                                                 05-60018-rdd; 05-60019-rdd; 05-60020-
                                                 rdd; 05-60021-rdd; 05-60022-rdd; 05-
                                                 60023-rdd; 05-60024-rdd; 05-60025-rdd;
                      Southern District of New   05-60026-rdd; 05-60027-rdd; 05-60028-
Refco Capital         York                       rdd; 05-60029-rdd
                                                  12-13262; 12-13263; 13-10027; 13-10028;
Revstone Industries   District of Delaware       13-11831
                      Northern District of
SAS Healthcare        Texas                      19-40401; 19-40402; 19-40403; 19-40404
                                                  18-45280; 18-45281; 18-45282; 18-45283;
                                                 18-45284; 18-45285; 18-45286; 18-45287;
                      Eastern District of New    18-45288; 18-45289; 18-45290; 18-45291;
Seasons Corporate     York                       18-46618
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     DBName                   Court                          Case Number(s)
                                                  18-33967; 18-33987; 18-33989; 18-33992;
                                                 18-33996; 18-33999; 18-34003; 18-34004;
                                                 18-34005; 18-33968; 18-34006; 18-34008;
                                                 18-34010; 18-34012; 18-34014; 18-33969;
                                                 18-34016; 18-34017; 18-33970; 18-34018;
                                                 18-34020; 18-34022; 18-34025; 18-34027;
                                                 18-34029; 18-33971; 18-33972; 18-34032;
                                                 18-34035; 18-34036; 18-34037; 18-33973;
                                                 18-34040; 18-34043; 18-33974; 18-34045;
                                                 18-34046; 18-34049; 18-34050; 18-34052;
                                                 18-34054; 18-34058; 18-34064; 18-34065;
                                                 18-34066; 18-33975; 18-34067; 18-34068;
                                                 18-34069; 18-34070; 18-34071; 18-34072;
                                                 18-34073; 18-34074; 18-34075; 18-34076;
                                                 18-34077; 18-34078; 18-34079; 18-34080;
                                                 18-34081; 18-34082; 18-34083; 18-34084;
                                                 18-34085; 18-34086; 18-34087; 18-33979;
                                                 18-33980; 18-33981; 18-33982; 18-33983;
                                                 18-33984; 18-33985; 18-33986; 18-33988;
                                                 18-33990; 18-33991; 18-33993; 18-33994;
                                                 18-33995; 18-33997; 18-33998; 18-34000;
                                                 18-33976; 18-34001; 18-34002; 18-34007;
                                                 18-34009; 18-34011; 18-34013; 18-34015;
                                                 18-34019; 18-34021; 18-34023; 18-34024;
                                                 18-34026; 18-34028; 18-34030; 18-34031;
                                                 18-34033; 18-34034; 18-34038; 18-34039;
                                                 18-34041; 18-34042; 18-33977; 18-34044;
                                                 18-33978; 18-34047; 18-34048; 18-34051;
                                                 18-34053; 18-34055; 18-34056; 18-34057;
                                                 18-34059; 18-34060; 18-34061; 18-34062;
                                                 18-34063; 19-30253; 19-30249; 19-30250;
                     Northern District of        19-30251; 19-30252; 19-30254; 19-30261;
Senior Care          Texas                       19-31719
Southeastern Metal
Products, Inc        District of Delaware         19-10989; 19-10990
Thomas Health        Southern District of West   20-20007; 20-20008; 20-20009; 20-20010;
Systems Inc.         Virginia                    20-20194
TPOP, LLC fka
Metavation           District of Delaware        13-11831
Unilife Corp         District of Delaware        17-10805, 17-10806, 17-10807
                     Southern District of
USA G                Indiana                     18-09108
                                                  18-10153; 18-10154; 18-10156; 18-10158;
USI Services Group   District of New Jersey      18-10159; 18-10160; 18-10162
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                                               18-11120; 18-11121; 18-11122; 18-11123;
Videology            District of Delaware      18-11124
Weston Educational   District of Colorado       16-21382
                     Eastern District of New
York Street          York                      18-76405
                     Central District of
Zetta Jet            California                17-21386; 17-21387
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                                          AGREEMENT

        This Agreement (the “Agreement”) is made and entered into by and among (i) William K.
Harrington, United States Trustee for Region 2 (the “United States Trustee”), and the Executive
Office for United States Trustees (the “EOUST”), a component within the Department of Justice,
together with the United States Trustees and Acting United States Trustees for Regions 1 through
21 (collectively, the “United States Trustee Program” or “USTP”), and (ii) Stretto, Inc.
(“Stretto”). The USTP and Stretto are referred to herein collectively as the “Parties,” and each a
“Party.”

                                             Recitation

         WHEREAS, the Clerk of the United States Bankruptcy Court for the Southern District of
New York (the “Bankruptcy Court”) has approved Stretto to be retained in bankruptcy cases to
act as the Clerk’s agent for the purpose of assisting with certain administrative tasks pertaining to
providing notices to parties and processing proofs of claim;

        WHEREAS, the retention of claims agents is governed by 28 U.S.C. § 156(c), the
Bankruptcy Court’s Local Bankruptcy Rule 5075-1, and the Bankruptcy Court’s Protocol for the
Employment of Claims and Noticing Agents Under 28 U.S.C. § 156(c) for the Bankruptcy Court
for the Southern District of New York (“SDNY Protocol”);

         WHEREAS, on November 23, 2020, Stretto entered into an agreement (the “Exclusive
Synchronization Agreement”) with Xclaim, Inc. (“Xclaim”), pursuant to which Stretto agreed to
provide Xclaim with access to bankruptcy claims data in a certain synchronized format to
facilitate claims trading on Xclaim’s platform (and not to provide certain data by programmatic
or other electronic means to any other party that operates a claims trading platform, unless
required by law) in exchange for a commission equal to 10% of the value of every consummated
claim traded over Xclaim’s platform in those bankruptcy cases where Stretto acted as a court-
appointed claims agent pursuant to 28 U.S.C. § 156(c);

       WHEREAS, on August 18, 2022, in the chapter 11 case of In re Madison Square Boys &
Girls Club, Inc., Case No. 22-10910-SHL, the Bankruptcy Court held that another approved
claims agent’s exclusive synchronization agreement with Xclaim was inconsistent with the
agent’s obligations and duties under 28 U.S.C. § 156(c), the SDNY Protocol and the Code of
Conduct for Judicial Employees. In re Madison Square Boys & Girls Club, Inc., 642 B.R. 487
(Bankr. S.D.N.Y. 2022), appeal dismissed, Case No. 22-CV-07575-KPF (U.S. District Court for
the Southern District of New York), Dkt. No. 17;

        WHERAS, on August 25, 2022, the Bankruptcy Court commenced the miscellaneous
proceeding styled In re Matter of Claims and Noticing Agents Receipt of Fees in Connection with
Unauthorized Arrangements with Xclaim Inc., Misc. Pro. No. 22-00401-MG (the “Miscellaneous
Proceeding”), wherein the Bankruptcy Court ordered (i) those certain claims agents approved to
be retained in bankruptcy cases to act as claims and noticing agents, including Stretto, to file a
notice disclosing, inter alia, (a) an accounting of any and all fees, costs, and reimbursements
received, or due to be received, from Xclaim through the filing of the notice, and (b) a list of all
bankruptcy cases in which the approved claims agent served as a court-approved claims and
noticing agent and Xclaim facilitated at least one claims trade from which that approved claims
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agent received or would receive a fee; and (ii) parties in interest, including the United States
Trustee, to file briefs outlining what sanctions, if any, should be imposed on those approved
claims agents that were a party to an agreement with Xclaim. See Misc. Proc. No. 22-00401-
MG, Dkt. Nos. 1 & 19;

      WHEREAS, on September 6, 2022, Stretto terminated its Exclusive Synchronization
Agreement with Xclaim;

        WHEREAS, the USTP alleges that Stretto should have disclosed its Exclusive
Synchronization Agreement with Xclaim as a relevant connection in its retention applications or
supplemental affidavits filed in those bankruptcy cases (the “Subject Bankruptcy Cases”) in
which Stretto was employed as a court-approved claims and noticing agent pursuant to 28 U.S.C.
§ 156(c) and/or other estate professional pursuant to 11 U.S.C. §§ 327 or 1103 from the date on
which Stretto entered into the Exclusive Synchronization Agreement, to the date on which Stretto
terminated such agreement, and that such disclosure was relevant to evaluating Stretto’s
disinterestedness in connection with Stretto’s employment as claims agent and/or estate
professional in the Subject Bankruptcy Cases;

        WHEREAS, Stretto acknowledges that while disclosure of its Exclusive Synchronization
Agreement with Xclaim would have been a “best practice,” whether or not required by
Bankruptcy Rule 2014 or the SDNY Protocol, Stretto maintains that disclosure was not required
by 28 U.S.C. § 156, the SDNY Protocol, or Bankruptcy Rule 2014 (collectively, the “Rules”),
that Stretto did not violate the Rules, and that it is not liable for any nondisclosure of its
Exclusive Synchronization Agreement with Xclaim. Stretto maintains that to the extent, if any,
that Stretto violated any of the Rules, the violation was in good faith and without any intent to
violate any of the Rules;

        WHEREAS, the Parties wish to resolve their dispute to avoid cost and expense associated
with further litigation related to Xclaim or the Exclusive Synchronization Agreement in the
Miscellaneous Proceeding or in any other proceeding in any other jurisdiction, without prejudice
to either Party’s position in the underlying matter and without any admission of liability,
violation, or wrongdoing by Stretto.

       NOW, THEREFORE, it is hereby agreed to by and among the Parties:

                                            Agreement

                               Article I – Jurisdiction and Venue

      1.      The Bankruptcy Court has jurisdiction over the Parties’ dispute and authority to
approve this Agreement.

                                 Article II – Settlement Payment

        2.     The Parties have agreed that Stretto shall make one or more payments in the total
aggregate amount of $175,000 (the “Payment”), to those certain debtors selected by Stretto (and
identified on the table annexed hereto as Exhibit 1), whose cases are still active and pending in

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the Bankruptcy Court for the Southern District of New York. The Payment shall be funded and
fully disbursed to such debtors within 90 days after the Effective Date (as defined below).

                                 Article III – Release Provisions

        3.      Upon the Effective Date, the USTP hereby releases all claims against Stretto
related to, in connection with, arising under, or pertaining to Xclaim or the Exclusive
Synchronization Agreement, in cases in any jurisdiction where Stretto was employed as a court-
approved claims and noticing agent pursuant to 28 U.S.C. § 156(c) and/or other estate
professional pursuant to 11 U.S.C. §§ 327 or 1103 and shall refrain from instituting, directing, or
maintaining any motion, objection, contested matter, adversary proceeding, or miscellaneous
proceeding against Stretto in any jurisdiction, seeking disqualification, disgorgement, or other
sanctions, penalties, further disclosures, or action of, by, or against Stretto based on anything
relating to Xclaim or the Exclusive Synchronization Agreement.

         4.      Upon the Effective Date, Stretto hereby releases all claims against the USTP and
all of its current and former employees, including all claims under the Equal Access to Justice
Act, 28 U.S.C. § 2412, based on the USTP’s participation in the Miscellaneous Proceeding.

       5.      This Agreement does not bind or prejudice any rights or claims of any non-party,
including the United States, the U.S. Department of Justice (except for the USTP), and/or other
governmental agencies; provided that Stretto’s obligation to pay the Payment hereunder shall be
null and void if any governmental entity, including the Bankruptcy Court, seeks in any forum to
impose any monetary sanction or penalty in any civil proceeding on Stretto in connection with
Xclaim or the Exclusive Synchronization Agreement.

                             Article IV – Miscellaneous Provisions

        6.      The Parties shall file a joint motion in the Miscellaneous Proceeding, pursuant to
11 U.S.C. §§ 105(a), 327 and 1103, and Rule 2014 of the Federal Rules of Bankruptcy
Procedure, seeking Bankruptcy Court approval of this Agreement on notice to all applicable
parties in interest, or through such other procedures as may be permitted by the Bankruptcy
Court. The Parties hereto agree to use their reasonable best efforts to achieve approval of this
Agreement through such motion or other procedures and obtain the entry of a mutually
acceptable Bankruptcy Court order approving this Settlement Agreement (the “Order”).

       7.     This Settlement Agreement shall become effective and binding on each of the
Parties upon execution by the Parties, entry of the Order approving this Agreement without
material modification, and entry of an order dismissing Stretto from the Miscellaneous
Proceeding with prejudice without further consequences imposed against Stretto by the
Bankruptcy Court regarding any past Stretto engagement or agreement with Xclaim (the date
such conditions are satisfied, the “Effective Date”).

       8.       The Bankruptcy Court shall retain exclusive jurisdiction over all matters subject to
this Agreement and the Order, including disputes arising under this Agreement or the Order, and
over the construction, interpretation, modification, and enforcement of the Agreement and Order,
and shall retain exclusive jurisdiction to hear any motions or proceedings related to this
Agreement and the Order.

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       9.       This Agreement and the Order (and their contents) are not and shall not be used as
an admission of liability, violation, or wrongdoing by Stretto, or any of its agents, directors,
officers, attorneys and employees acting on its behalf, solely with respect to actions taken in the
course or their duties with Stretto, to any person or entity or on any legal or equitable theory.
This Agreement is made, and the Order shall be entered, without trial or adjudication or any
issue of fact or law as to the claims released in Article III. Nothing in this paragraph reduces
Stretto’s obligations under this Agreement and the Order or affects the USTP’s authority to
enforce any rights under the Agreement and Order.

       10.     This Agreement constitutes the entire agreement between the Parties relating to
the subject matter reflected herein and may not be modified except: (i) in writing executed and
delivered by the Parties, or (ii) pursuant to mutually acceptable terms incorporated in the Order.

       11.     This Agreement may be executed by the Parties in one or more counterparts, or
via facsimile or electronically scanned signatures, each of which shall be deemed an original, all
of which together shall constitute one and the same instrument.

        12.     The Parties waive any right to seek reconsideration of or to appeal from the Order
if the Order is entered as submitted in a form mutually acceptable to the Parties.

        13.     If either Party determines that this Agreement or Order has been violated, it shall
notify the other Party of the violation and allow ten (10) days to cure or otherwise purge the
conduct deemed to violate the Agreement or Order before filing any motion or commencing any
proceeding to enforce this Agreement or the Order with the Bankruptcy Court, unless more time
is agreed to in writing by the Parties.

       14.     Where any time period in this Agreement is stated in days, the applicable time
period shall be calculated pursuant to Federal Rule of Bankruptcy Procedure 9006(a)(1).

AGREED TO:

Dated: April 12, 2023                         By:    /s/ Ramona D. Elliott
                                                     Ramona D. Elliott
                                                     Deputy Director/General Counsel
                                                     Executive Office for United States Trustees

Dated: April 3, 2023                          By:    /s/ William K. Harrington
                                                     William K. Harrington
                                                     United States Trustee, Region 2

Dated: March 24, 2023                         By:    /s/ Christopher Updike
                                                     Christopher Updike
                                                     General Counsel
                                                     Stretto, Inc.




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                                     EXHIBIT 1



            Debtor                        Case No.                    Payment
ABC Home Furnishings, Inc.                21-11592                         $10,000.00
Celsius Network Ltd.                      22-10964                         $75,000.00
Voyager Digital Holdings, Inc.            22-10943                         $90,000.00
Total                                                                     $175,000.00
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                                     SETTLEMENT AGREEMENT

        This Settlement Agreement (the “Settlement Agreement”) is made and entered into by
and among (i) William K. Harrington, United States Trustee for Region 2 (the “United States
Trustee”) and the Executive Office for United States Trustees (the “EOUST”), a component
within the Department of Justice, together with the United States Trustees and Acting United
States Trustees for Regions 1 through 21 (collectively, the “United States Trustee Program” or
“USTP”), and (ii) Epiq Corporate Restructuring, LLC (“Epiq”). The USTP and Epiq are referred
to herein collectively as the “Parties,” and each a “Party.”

                                                  Recitation

        WHEREAS, the Clerk of the United States Bankruptcy Court for the Southern District of
New York (the “Bankruptcy Court”) has approved Epiq to be retained in bankruptcy cases to act
as a claims and noticing agent for the purpose of assisting with certain administrative tasks
pertaining to providing notices to parties and processing proofs of claim;

        WHEREAS, the retention of claims agents is governed by 28 U.S.C. § 156(c), the
Bankruptcy Court’s Local Bankruptcy Rule 5075-1, and the Bankruptcy Court’s Protocol for the
Employment of Claims and Noticing Agents Under 28 U.S.C. § 156(c) for the Bankruptcy Court
for the Southern District of New York (“SDNY Protocol”);

       WHEREAS, Epiq was party to two successive agreements with Xclaim, the first dated
October 3, 2019 (the “Exclusive Synchronization Agreement”), which was later amended and
superseded by a subsequent agreement with Xclaim dated June 24, 2022 (the “Subsequent
Synchronization Agreement,” and together with the Exclusive Synchronization Agreement, the
“Synchronization Agreements”), pursuant to which Epiq agreed to provide Xclaim with access to
bankruptcy claims data1 in a certain synchronized format to facilitate claims trading on Xclaim’s
platform in exchange for a commission equal to 0.1% of the face value of each claim traded over
Xclaim’s platform in those bankruptcy cases where Epiq acted as a court-appointed claims agent
pursuant to 28 U.S.C. § 156(c);

       WHEREAS, on August 18, 2022, in the chapter 11 case of In re Madison Square Boys &
Girls Club, Inc., Case No. 22-10910-SHL, the Bankruptcy Court held that Epiq’s entry into the
Synchronization Agreements with Xclaim was inconsistent with its obligations and duties under
28 U.S.C. § 156(c), the SDNY Protocol and the Code of Conduct for Judicial Employees. See In
re Madison Square Boys & Girls Club, Inc., 642 B.R. 487 (Bankr. S.D.N.Y. 2022), appeal
dismissed, Case No. 22-CV-07575-KPF (U.S. District Court for the Southern District of New
York), Dkt. No. 17;

       WHERAS, on August 25, 2022, the Bankruptcy Court commenced the miscellaneous
proceeding styled In re Matter of Claims and Noticing Agents Receipt of Fees in Connection with
Unauthorized Arrangements with Xclaim Inc., Misc. Pro. No. 22-00401-MG (the “Miscellaneous
Proceeding”), wherein the Bankruptcy Court ordered (i) those certain claims agents approved to

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     The terms of the Exclusive Synchronization Agreement called for Xclaim being granted exclusive access to this
     data. The Subsequent Synchronization Agreement was amended specifically to remove this exclusive language.
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be retained in bankruptcy cases to act as administrative claims and noticing agents, including
Epiq, to file a notice disclosing, inter alia, (a) an accounting of any and all fees, costs, and
reimbursements received, or would have, from Xclaim through the filing of the notice, and (b) a
list of all bankruptcy cases in which the approved claims agent served as a court-approved claims
and noticing agent and Xclaim facilitated at least one claims trade from which that approved
claims agent received or would receive a fee; and (ii) parties in interest, including the United
States Trustee, to file briefs outlining what sanctions, if any, should be imposed on those
approved claims agents that were a party to a synchronization agreement with Xclaim. See Misc.
Proc. No. 22-00401-MG, Dkt. Nos. 1 & 19;

      WHEREAS, on September 9, 2022, Epiq terminated its Subsequent Synchronization
Agreement with Xclaim;

        WHEREAS, the USTP alleges that Epiq should have disclosed its Synchronization
Agreements with Xclaim as a relevant connection in its retention applications or supplemental
affidavits filed in those bankruptcy cases (the “Subject Bankruptcy Cases”) in which Epiq was
employed as a court-approved claims and noticing agent pursuant to 28 U.S.C. § 156(c) and/or
other estate professional pursuant to 11 U.S.C. §§ 327 or 1103 from the date on which Epiq
entered into the first Exclusive Synchronization Agreement to the date on which Epiq terminated
the Subsequent Synchronization Agreement, and that such disclosure was relevant to evaluating
Epiq’s disinterestedness in connection with Epiq’s employment as claims agent and/or estate
professional in the Subject Bankruptcy Cases;

        WHEREAS, Epiq acknowledges that disclosure of the Synchronization Agreements
between Epiq and Xclaim would have been a “best practice,” whether or not required by
Bankruptcy Rule 2014 or the SDNY Protocol. Epiq alleges and maintains that disclosure was not
required by 28 U.S.C. § 156, the SDNY Protocol, or Bankruptcy Rule 2014 (collectively, the
“Rules”), that Epiq did not violate the Rules, and that it is not liable for any nondisclosure of its
Synchronization Agreements with Xclaim. Epiq maintains that to the extent, if any, Epiq
violated any of the Rules, the violation was in good faith and without any intent to violate any of
the Rules;

        WHEREAS, the Parties wish to resolve their dispute to avoid the cost and expense
associated with further litigation related to Xclaim or the Synchronization Agreements in the
Miscellaneous Proceeding or in any other proceeding in any other jurisdiction, without prejudice
to either Party’s position in the underlying matter and without any admission of liability,
violation, or wrongdoing by Epiq.

       NOW, THEREFORE, it is hereby agreed to by and among the Parties:

                                            Agreement

                               Article I – Jurisdiction and Venue

        1.     The Bankruptcy Court has subject matter jurisdiction over the Parties’ dispute
and this Settlement Agreement pursuant to 28 U.S.C. § 1334. The Miscellaneous Proceeding and


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proceedings attendant to the Bankruptcy Court’s approval of this Settlement Agreement are core
proceedings under 28 U.S.C. § 157(b)(2). Venue in the Bankruptcy Court is proper pursuant to
28 U.S.C. § 1409(a).

                                Article II – Settlement Payment

        2.      The Parties have agreed that Epiq shall make a payment in the total aggregate
amount of $500,000 (the “Settlement Payment”) to the debtors, reorganized debtors, and/or a
representative, designee, or successor of the debtors or the debtors’ estate, as applicable, in each
of the Subject Bankruptcy Cases (collectively, the “Debtors”). On or after the Effective Date
(defined below), Epiq will use reasonable efforts to contact the Debtors in writing (with e-mail
being sufficient) regarding the Settlement Agreement, the Settlement Payment, and the Order
(defined below), and requesting payment information for each Debtor. Debtors shall have 30
days from the entry of the Order to respond to Epiq with payment information. As soon as
reasonably practicable after receiving payment information from each Debtor, Epiq will pay each
Debtor a pro rata portion of the Settlement Payment, and will file a schedule in the
Miscellaneous Proceeding (agreed to between the Parties) of the Debtors to receive payments
(and their allocated portions) within 30 days of the entry of the Order. The Settlement Payment
shall be fully funded, and disbursed by Epiq within 90 days of the Effective Date. To the extent
that any portion of the Settlement Payment remains outstanding at the conclusion of the 90 day
period Epiq shall make pro rata distributions of the remaining Settlement Payment amount to
those Debtors that timely provided payment information to Epiq.

                                 Article III – Release Provisions

        3.     Upon the Effective Date, the USTP hereby releases all claims against Epiq related
to, in connection with, arising under, or pertaining to Xclaim or the Synchronization
Agreements, in cases in any jurisdiction where Epiq was employed as a court-approved claims
and noticing agent pursuant to 28 U.S.C. § 156(c) and/or other estate professional pursuant to 11
U.S.C. §§ 327 or 1103 and shall refrain from instituting, directing, or maintaining any motion,
objection, contested matter, adversary proceeding, or miscellaneous proceeding against Epiq in
any jurisdiction, seeking disqualification, disgorgement, or other sanctions, penalties, further
disclosures, or action of, by, or against Epiq based on anything relating to Xclaim or the
Synchronization Agreements.

        4.      Upon the Effective Date, Epiq hereby releases all claims against the USTP and all
of its current and former employees, including all claims under the Equal Access to Justice Act,
28 U.S.C. § 2412, based on the USTP’s participation in the Miscellaneous Proceeding.

       5.      This Settlement Agreement does not bind or prejudice any rights or claims of any
non-party, including the United States, the U.S. Department of Justice (except for the USTP),
and/or other governmental agencies; provided that Epiq’s obligation to pay the Settlement
Payment hereunder shall be null and void if any governmental entity seeks in any forum to
impose any monetary sanction or penalty in any civil proceeding on Epiq in connection with
Xclaim or the Synchronization Agreements.

                             Article IV – Miscellaneous Provisions


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       6.      The Parties agree to submit a joint motion to the Bankruptcy Court, to be filed in
the Miscellaneous Proceeding, pursuant to 11 U.S.C. §§ 105(a), 327 and 1103, and Rule 2014 of
the Federal Rules of Bankruptcy Procedure, seeking Bankruptcy Court approval of the
Settlement Agreement on notice to all applicable parties in interest in the Miscellaneous
Proceeding, or through such other procedures as may be permitted by the Bankruptcy Court. The
Parties hereto agree to use their reasonable best efforts to seek approval of this Settlement
Agreement through such motion or other procedures and obtain the entry of a mutually
acceptable order of the Bankruptcy Court approving this Settlement Agreement (the “Order”).

       7.     This Settlement Agreement shall become effective and binding on each of the
Parties upon entry of the Order approving its terms without material modification and without
imposing sanctions or other consequences against Epiq in the Miscellaneous Proceeding (the
“Effective Date”).

        8.     The Bankruptcy Court shall retain exclusive jurisdiction over all matters subject to
this Settlement Agreement and the Order, including disputes arising under this Settlement
Agreement and the Order, and over the construction, interpretation, modification, and
enforcement of the Settlement Agreement and Order, and shall retain exclusive jurisdiction to
hear any motions or proceedings related to this Settlement Agreement and the Order.

       9.       This Settlement Agreement and the Order (and their contents) are not and shall
not be used as an admission of liability, violation, or wrongdoing by Epiq, and all of its agents,
directors, officers, attorneys and employees acting on its behalf, solely with respect to actions
taken in the course or their duties with Epiq, to any person or entity or on any legal or equitable
theory. This Settlement Agreement is made, and the Order shall be entered, without trial or
adjudication or any issue of fact or law as to the claims released in Article III. Nothing in this
paragraph reduces Epiq’s obligations under this Settlement Agreement and the Order or affects
the USTP’s authority to enforce any rights under the Settlement Agreement and Order.

        10.     This Settlement Agreement constitutes the entire agreement between the Parties
relating to the subject matter reflected herein and may not be modified except: (i) in writing
executed and delivered by the Parties, or (ii) pursuant to mutually acceptable terms incorporated
in the Order.

       11.     This Settlement Agreement may be executed by the Parties in one or more
counterparts, or via facsimile or electronically scanned signatures, each of which shall be
deemed an original, all of which together shall constitute one and the same instrument.

        12.     The Parties waive any right to seek reconsideration of or to appeal from the Order
if the Order is entered as submitted in a form mutually acceptable to the Parties.

       13.      If either Party determines that this Settlement Agreement or Order has been
violated, it shall notify the other Party of the violation and allow ten (10) days to cure or
otherwise purge the conduct deemed to violate the Settlement Agreement or Order before filing
any motion or commencing any proceeding to enforce this Settlement Agreement and the Order
with the Bankruptcy Court, unless more time is agreed to in writing by the Parties.

       14.     Where any time period in this Settlement Agreement is stated in days, the

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applicable time period shall be calculated pursuant to Federal Rule of Bankruptcy Procedure
9006(a)(1).

AGREED TO:

Dated: April 12, 2023                       By:    /s/ Ramona D. Elliott
                                                   Ramona D. Elliott
                                                   Deputy Director/General Counsel
                                                   Executive Office for United States Trustees

Dated: April 3, 2023                        By:    /s/ William K. Harrington
                                                   William K. Harrington
                                                   United States Trustee, Region 2

Dated: March 24, 2023                       By:    /s/ Jason Juranek
                                                   Jason Juranek
                                                   Chief Financial Officer
                                                   Epiq Corporate Restructuring, LLC




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